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                 Exhibit C
                    to Declaration of Nilay U. Vora




                                                                   Exhibit C
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12
13                             UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                    WESTERN DIVISION
16   PAUL SNITKO, JENNIFER SNITKO,                 Case No. 2:21-CV-04405-RGK-MAR
     JOSEPH RUIZ, TYLER GOTHIER,
17   JENI VERDON-PEARSONS,                         DEFENDANTS UNITED STATES OF
     MICHAEL STORC, AND TRAVIS                     AMERICA, ET AL.’S RESPONSES TO
18   MAY,                                          PLAINTIFFS’ SECOND SET OF
                                                   REQUESTS FOR DOCUMENT
19               Plaintiffs,                       PRODUCTION
20                      v.
21   UNITED STATES OF AMERICA, ET
     AL.,
22
23               Defendants.
24
25         Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Defendants United
26   States of America, Tracy L. Wilkison, in her official capacity as Acting United States
27   Attorney for the Central District of California, and Kristi Koons Johnson, in her official
28   capacity as an Assistant Director of the Federal Bureau of Investigation (collectively.
                                                                             Exhibit C
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 1   “Defendants”), by their attorneys, hereby submit this response to the Plaintiffs’ Second
 2   Set of Requests for Document Production, as set forth below.
 3                               PRELIMINARY STATEMENT
 4          Defendants have not at this time fully completed their discovery and investigation
 5   in this action. All responses contained herein are based solely upon such information
 6   and evidence as are presently available and specifically known to Defendants at this time
 7   and disclose only those factual contentions and legal conclusions which presently occur
 8   to Defendants at this time. Further discovery, investigation, research and analysis is
 9   expected to supply additional facts, add meaning to currently known facts, and establish
10   entirely new factual contentions and legal conclusions, which may lead to substantial
11   additions or changes to the information provided herein. Defendants reserve the right to
12   add or change any and all responses herein as additional facts are ascertained, legal
13   research is completed, and analyses are undertaken. The responses herein are made in a
14   good faith effort to supply as much information as is presently known to Defendants in
15   this action.
16                    RESPONSES TO REQUESTS FOR PRODUCTION
17   REQUEST FOR PRODUCTION NO. 6:
18          All written directions provided to law enforcement officials in connection with the
19   March 2021 search of U.S. Private Vaults.
20   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
21          Defendants object that this request (1) seeks information protected by the law
22   enforcement evidentiary privilege or the investigatory file privilege; (2) fails to identify
23   the documents sought with reasonable particularity; (3) is overly broad; (4) seeks
24   information neither relevant to the subject matter of this action nor reasonably calculated
25   to lead to the discovery of admissible evidence; (5) may potentially seek information
26   protected by the attorney-client privilege or work product doctrine; (6) is vague,
27   ambiguous and unintelligible in its use of the words “directions” and “law enforcement
28   officials:” and (7) seeks information protected by the right of privacy and the Privacy
                                                                              Exhibit C
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 1   Act, which will not be produced until such time as a mutually acceptable protective order
 2   is entered in this case.
 3   REQUEST FOR PRODUCTION NO. 7:
 4          All internal policy documents applied to guide the conduct of law enforcement
 5   officials during the March 2021 search of U.S. Private Vaults, including but not limited
 6   to complete and unredacted copies of all pertinent provisions contained in the FBI’s
 7   2016 Domestic Investigations and Operations Guide.
 8   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
 9          Defendants objects that this request (1) seeks information protected by the law
10   enforcement evidentiary privilege or the investigatory file privilege; (2) seeks
11   information protected by the deliberative process privilege; (3) fails to identify the
12   documents sought with reasonable particularity; (4) is overly broad; (5) seeks
13   information neither relevant to the subject matter of this action nor reasonably calculated
14   to lead to the discovery of admissible evidence; and (6) seeks information protected by
15   the right of privacy and the Privacy Act, which will not be produced until such time as a
16   mutually acceptable protective order is entered in this case.
17   REQUEST FOR PRODUCTION NO. 8:
18          All written inventories produced during the March 2021 search of U.S. Private
19   Vaults boxes of the named Plaintiffs in this action and of all other individuals listed in
20   response to Interrogatory Number 9.
21   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
22          Defendants object that this request (1) seeks information protected by the law
23   enforcement evidentiary privilege or the investigatory file privilege; (2) fails to identify
24   the documents sought with reasonable particularity; (3) is overly broad; (4) seeks
25   information neither relevant to the subject matter of this action nor reasonably calculated
26   to lead to the discovery of admissible evidence; (5) is vague, ambiguous and
27   unintelligible in its use of the words “written inventories” because Defendants produced
28   documents as a result of inventorying the contents of safe deposit boxes; and (6) seeks
                                                                            Exhibit C
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 1   information protected by the right of privacy and the Privacy Act, which will not be
 2   produced until such time as a mutually acceptable protective order is entered in this case.
 3   REQUEST FOR PRODUCTION NO. 9:
 4         All video recordings produced during the March 2021 search of U.S. Private
 5   Vaults boxes of the named Plaintiffs in this action and of all other individuals listed in
 6   response to Interrogatory Number 9.
 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:
 8         Defendants object that this request (1) seeks information protected by the law
 9   enforcement evidentiary privilege or the investigatory file privilege; (2) fails to identify
10   the documents sought with reasonable particularity; (3) is overly broad; (4) seeks
11   information neither relevant to the subject matter of this action nor reasonably calculated
12   to lead to the discovery of admissible evidence; and (5) seeks information protected by
13   the right of privacy and the Privacy Act, which will not be produced until such time as a
14   mutually acceptable protective order is entered in this case.
15   REQUEST FOR PRODUCTION NO. 10:
16         All internal policy documents that will be applied to govern the retention and
17   subsequent use of inventories, video recordings, or other documents produced during
18   and/or as a result of the March 2021 search of U.S. Private Vaults boxes of the named
19   Plaintiffs in this action and of all other individuals listed in response to Interrogatory
20   Number 9.
21   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
22         Defendants objects that this request (1) seeks information protected by the law
23   enforcement evidentiary privilege or the investigatory file privilege; (2) seeks
24   information protected by the deliberative process privilege; (3) fails to identify the
25   documents sought with reasonable particularity; (4) is overly broad; (5) seeks
26   information neither relevant to the subject matter of this action nor reasonably calculated
27   to lead to the discovery of admissible evidence; (4) seeks information protected by the
28   attorney-client privilege or work product doctrine; (5) is vague, ambiguous and
                                                                             Exhibit C
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 1   unintelligible in its use of the words “subsequent use” and “inventories;” and (6) seeks
 2   information protected by the right of privacy and the Privacy Act, which will not be
 3   produced until such time as a mutually acceptable protective order is entered in this case.
 4   REQUEST FOR PRODUCTION NO. 11:
 5         A full copy of the seizure and search warrants issued for the search and seizure of
 6   U.S. Private Vaults’ business property by Defendants in March 2021, as well as all
 7   applications for all such warrants, and all materials submitted in support of those
 8   applications, including any affidavits submitted in support.
 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
10         Defendants object that this request seeks information protected by the right of
11   privacy and the Privacy Act, which will not be produced until such time as a mutually
12   acceptable protective order is entered in this case. Defendants will produce the search
13   and seizure warrants, and the applications and affidavits for search and seizure warrants
14   redacted to eliminate residential addresses, vehicle license or registration numbers, and
15   portions of these documents explaining defendants’ basis for believing that an individual
16   resides at a particular address.
17   Dated: January 7, 2022                        TRACY L. WILKISON
                                                   United States Attorney
18                                                 SCOTT M. GARRINGER
                                                   Assistant United States Attorney
19                                                 Chief, Criminal Division
20                                                       /s/             ______________
                                                   ANDREW BROWN
21                                                 VICTOR A. RODGERS
                                                   MAXWELL COLL
22                                                 Assistant United States Attorneys
23                                                 Attorneys for Defendants
                                                   UNITED STATES OF AMERICA, et al.
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                                                                              Exhibit C
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 1                            PROOF OF SERVICE BY MAILING
 2         I am over the age of 18 and not a party to the within action. I am employed by the
 3   Office of the United States Attorney, Central District of California. My business address
 4   is 312 North Spring Street, 14th Floor, Los Angeles, California 90012.
 5         On January 7, 2022, I served a copy of: DEFENDANTS UNITED STATES OF
 6   AMERICA, ET AL.’S RESPONSES TO PLAINTIFFS’ SECOND SET OF
 7   REQUESTS FOR DOCUMENT PRODUCTION on each person or entity named
 8   below by enclosing a copy in an envelope addressed as shown below and placing the
 9   envelope for collection and mailing on the date and at the place shown below following
10   our ordinary office practices.
11   TO:
12   THE INSTITUTE FOR JUSTICE                     THE INSTITUTE FOR JUSTICE
     Robert Frommer                                Robert E. Johnson
13   Joseph R. Gay                                 16781 Chagrin Blvd, Suite 256
     901 N. Glebe Road, Suite 900                  Shaker Heights, OH 44120
14   Arlington, VA 22203
15   THE VORA LAW FIRM, P.C.
     Nilay U. Vora
16   Jeffrey Atteberry
     201 Santa Monica Blvd., Ste. 300
17   Santa Monica, CA 90401
18   X I am readily familiar with the practice of this office for collection and processing
19   correspondence for mailing. On the same day that correspondence is placed for
20   collection and mailing, it is deposited in the ordinary course of business with the United
21   States Postal Service in a sealed envelope with postage fully prepaid.
22         I declare under penalty of perjury under the laws of the United States of America
23   that I am employed in the office of a member of the bar of this Court, at whose direction
24   the service was made, and that the foregoing is true and correct.
25         Executed on January 7, 2022, at Los Angeles, California.
26                                                 /s/ Paul J. Read
                                                   PAUL J. READ
27
                                                   Paralegal, FSA
28
                                                                              Exhibit C
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